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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


OPTIS WIRELESS TECH., LLC, ET AL.,

                  Plaintiffs,                            CIVIL ACTION NO.

       v.                                                2:17-cv-123-JRG-RSP

HUAWEI TECHS. CO. LTD., ET AL.,
                                                         JURY TRIAL REQUESTED
                  Defendants.



                   PLAINTIFFS’ STATUS REPORT REGARDING
                 EMERGENCY MOTION FOR ANTISUIT INJUNCTION


       On October 17, 2017, the Court held a hearing on Plaintiffs’ Emergency Motion for

Antisuit Injunction (Dkt. No. 76). As instructed by the Court, the parties met and conferred

regarding injunctive language acceptable to Huawei in view of its representations that it did not

intend to seek an injunction in the Chinese court that would interfere with these proceedings. The

following is PanOptis’ report on the meet and confer.

       The parties were unable to agree on injunctive language. Counsel for Huawei asserted

that Huawei’s proposed addition of a parenthetical to the prayer for relief of one of the Chinese

complaints should be sufficient to moot PanOptis’ request for any injunctive relief. PanOptis

notes several deficiencies in Huawei’s proposed language:

   •   At the meet and confer, Huawei conceded that the Chinese court may grant injunctive
       relief despite the limitation in the language of Huawei’s prayer for relief.

   •   The amendment to the prayer for relief does not preclude Huawei from filing a motion
       for injunctive relief against PanOptis in the Chinese court. At the meet and confer,
       counsel declined to unequivocally commit that Huawei would not file such a motion.


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   •   Huawei would not be precluded from filing further Chinese actions seeking to enjoin
       PanOptis.

   •   Huawei’s proposal does not preclude it from pursuing claims in China that would
       interfere with this case.

   Accordingly, PanOptis’ Emergency Motion for Antisuit Injunction (Dkt. No. 77) is not moot,

and PanOptis respectfully requests the Court grant PanOptis the relief sought therein.



Dated: October 24, 2017                             Respectfully submitted,

                                                    /s/ Kevin L. Burgess _______

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record via the Court’s ECF system on October 24, 2017.

                                                   /s/ Kevin L. Burgess
                                                   Kevin L. Burgess




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